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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 1:20-cv-23564-MGC

    DAVID WILLIAMS and CAROLL
    ANGLADE, THOMAS MATTHEWS,
    MARTIZA ANGELES, and HOWARD
    CLARK, individually and on behalf of all
    others similarly situated,

          Plaintiffs,

    v.

    RECKITT BENCKISER LLC and
    RB HEALTH (US) LLC,

          Defendants.



                            DEFENDANTS’ NOTICE REGARDING
                        FIRST AMENDED SETTLEMENT AGREEMENT
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            Defendants Reckitt Benckiser LLC and RB Health (US) LLC (“Defendants” or “RB”)

   hereby provide notice that on September 13, 2021, the Parties executed a First Amended

   Settlement Agreement and Release (“Amended Settlement Agreement”)1 to amend the

   injunctive relief portion of the Settlement of this Action. A true and correct copy of the

   executed Amended Settlement Agreement is attached hereto as Exhibit A. Therein the Parties

   agreed that Defendants would not only (1) revise all label and marketing references for

   Neuriva Original, Neuriva Plus, and Neuriva De-Stress (collectively “Neuriva”) from

   “clinically proven” to “clinically tested,” as contemplated by the original Settlement

   Agreement and Release preliminarily approved on April 23, 2021, but also (2) refrain from

   making any reference to “clinically shown” or similar language, such as “clinical studies have

   shown.” See Exhibit A at Section IV.A.1.a-d.

            Respectfully, the Amended Settlement Agreement therefore moots the concerns

   regarding “shown” as raised by putative objectors Theodore H. Frank and Truth in

   Advertising (TINA), see Dkt. Nos. 75 and 82, and the request by this Court for further briefing

   regarding consumers’ perception of “shown.” See Dkt. No. 105.

            As more thoroughly discussed below, Defendants continue to maintain that the

   Neuriva products’ “clinically proven” label and marketing claim has always been

   substantiated because ample competent and reliable evidence shows that Neuriva’s active

   ingredients have, indeed, been clinically tested and proven to be effective as advertised. See

   infra Section I. Thus, any iteration of this claim—whether clinically “tested” or “shown” —

   would be just as substantiated. Notwithstanding, to avoid the expense, inconvenience, and

   distraction associated with continued litigation, Defendants have agreed to make the label

   and marketing changes described above, and the representative revised Neuriva label

   incorporating these changes was made final long before any objectors arrived in this Action.



   1
    All relevant signatures have been secured with the exception of one (of two) remaining signature from RB, which
   was unavailable at time of filing for logistical reasons. RB will update its filing promptly with that final signature as
   soon as it is received.
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   See infra Section II and Exhibit B, attached hereto, which is the Supplemental Declaration of

   RB’s Innovation & Strategy Director Rachel Sexton.

   I.     Defendants’ Label and Marketing Claims Are, and Have Always Been,
          Substantiated.
          Defendants have always maintained that the labeling of Neuriva as having “clinically

   proven” ingredients is truthful and substantiated. This is because RB extensively studied

   Neuriva’s active ingredients—NeuroFactor (whole cherry coffee extract), soy-PS

   (phosphatidylserine), and melon concentrate containing a potent antioxidant, SuperOxide

   Dismutase (“SOD”)—before bringing Neuriva to market. As such, RB has a substantial body

   of scientific evidence to support claims relating to Neuriva’s active ingredients, as currently

   reflected on product packaging (“clinically proven”) as well as any claims that the active

   ingredients are “clinically tested” and “clinically shown” to be effective as advertised. In fact,

   several well-designed scientific studies demonstrate that Neuriva’s active ingredients are

   effective at supporting key indicators of brain health, such as focus, accuracy, memory,

   learning, and concentration. See Declaration (ECF No. 62-1) and Supplemental Declaration

   (ECF No. 86-1) of Gary W. Small, M.D. Dr. Small, the Chair of Psychiatry at Hackensack

   University Medical Center and the Physician in Chief, Behavioral Health at Hackensack

   Meridian Health, is an expert in the field of cognitive decline and the medical treatment of

   those and related mental health conditions. See ECF No. 62-1 at 24-25 (“Small Decl.”). Dr.

   Small’s declaration includes a study-by-study analysis of the clinical studies relied on by RB

   to substantiate Neuriva’s labeling claims. Id. at 28-39. Dr. Small ultimately concluded that

   these studies “support[] the promotional and implied claims” relating to Neuriva’s principal

   ingredients. Id. at 39.

          Indeed, as RB has clearly demonstrated through its prior court submissions, including

   Dr. Small’s two declarations, science supporting Neuriva’s ingredient claims provide more

   than sufficient substantiation under the FDA and FTC’s substantiation standard. The FDA

   adopted the FTC’s substantiation standard of “competent and reliable scientific science” for


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   claims regarding the benefits and safety of dietary supplements. See Guidance for Industry:

   Substantiation for Dietary Supplement Claims Made Under Section 403 (r) (6) of the Federal

   Food, Drug, and Cosmetic Act” (“FDA Guidance”) at 3 (ECF No. 76-A). Here, Neuriva’s

   ingredient claims are substantiated by several peer-reviewed and published clinical studies

   utilizing randomized, double-blind, placebo-controlled test designs, the gold standard for

   studies of safety and efficacy of clinical interventions. See Dr. Small’s Supplemental

   Declaration (“Small Supp. Decl.”) at 4-5. As Dr. Small explained, these kinds of studies

   remain the most convincing research design in which randomly assigning the intervention

   can eliminate the influence of unknown or immeasurable confounding variables such as

   placebo effects that may otherwise lead to biased and incorrect estimate of treatment effects.

   See id. Also, randomization eliminates confounding by baseline variables and blinding

   eliminates confounding by co-interventions, thus eliminating the possibility that the observed

   effects of intervention are due to differential use of other treatments. See id.

          Moreover, the fact that the clinical studies supporting Neuriva’s ingredient claims

   involve all age groups, both young and old, as well as both healthy adults and those with mild

   cognitive impairment provides further credibility to the significance of the results reached in

   those studies regarding the cognitive benefits of treatment with WCCE and PS. See id. at 5.

   Such well-designed clinical studies have shown that individuals who take WCCE and PS

   experience a noticeable improvement in cognitive function. See id. at 2. Similarly, clinical

   studies have also shown that supplementation with SOD decreases stress and fatigue. See id.

   A.     Clinical Studies of WCCE (Neurofactor)

          As Dr. Small explained, the mechanism of action of WCCE (Neurofactor) is directly

   linked to an increase in plasma levels of brain-derived neurotropic factor (“BDNF”). See id.

   at 6. BDNF is a neuro-protein that is directly involved in neurogenesis (the formation of new

   neurons in the brain) and is the most prevalent growth factor in the central nervous system

   (CNS), essential for the development of the CNS and for neuronal plasticity. See id. BDNF is

   known to influence a variety of functions including maintaining the health of existing brain

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   cells, inducing the growth of new neurons and synapses, and supporting overall cognitive

   function, including memory and learning. See id. Neurofactor supplementation at the levels

   provided by Neuriva Original (100 mg/day) and Neuriva Plus (200 mg/day) have been the

   subject of five unique clinical trials assessing cognitive performance.

           Three clinical studies—the Robinson study (2019)2, the Robinson study (2021)3, and

   the Reed study (2019)4 —show a statistically significant and clinically relevant improvement

   compared to placebo in performance on common cognitive assessments related to focus,

   accuracy, memory, learning and concentration. For instance, the results in the Robinson

   study (2019) indicate that WCCE has a significant impact on reaction time in as little as seven

   days and these benefits persist throughout a 28-day period. See id. at 7. Overall, the reductions

   in reaction time suggest that, during periods of cognitive challenge, WCCE supports motor

   response and executive function (performance); reduces mental fatigue; and benefits

   attention, motivation, and alertness. See id. These results were confirmed in the second

   Robinson Study (2021) in which the group receiving WCCE, showed decreased reaction time

   and significantly better results on key mental performance tasks when compared to the

   placebo group. See id. The Reed study (2019) also revealed that supplementation with WCCE

   improved cognitive function including decrease in mental fatigue and an increase in alertness.

   See id. at 8.

           Meanwhile, the Robinson study (2021) and two other published studies on

   Neurofactor (Reyes-Izquierdo studies 2013a and 2013b)5 showed an increased level of BDNF

   in the brains of subjects taking 100mg of WCCE compared to the placebo groups. See id. at 7-

   9. In the Robinson study, researchers found levels of BDNF increased within 90 minutes,

   crossed the blood-brain barrier and led to significantly better results on cognitive function

   tasks compared to placebo. See id. at 7. The first Reyes-Izquierdo study also showed increases

   2
     Attached as Exhibit 2 to Defendants’ Supplemental Brief Regarding Injunctive Relief
   (“Supplemental Brief”) (ECF No. 62).
   3
     Attached as Exhibit 3 to Defendants’ Supplemental Brief.
   4
     Attached as Exhibit 4 to Defendants’ Supplemental Brief.
   5
     Attached as Exhibits 5 and 6 to Defendants’ Supplemental Brief.
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   in plasma BDNF levels by 148% compared to baseline while the second study, conducted to

   confirm and further investigate this effect, similarly resulted in an increase of plasma BDNF

   by 91% compared to placebo. See id. As Dr. Small affirmed, these studies demonstrate that

   individuals who supplement with WCCE will have increased levels of BDNF which crosses

   the blood barrier and improves cognitive function. See id. at 6-9.

   B.       Clinical Studies of Phosphatidylserine (PS)

            Similarly, several studies have revealed that soybean-derived PS supplementation can

   improve memory and other cognitive function in humans of various age groups. See Small

   Decl. at 12-13. PS plays an essential role in keeping nerve cell membranes healthy and in

   forming myelin, the insulating sheath surrounding many nerve fibers. See id. A body of

   evidence supports the functional significance of PS in the brain and PS is known to facilitate

   the activation of signaling proteins and receptors that are critical for neuronal survival,

   differentiation and synaptic neurotransmission. See id. Despite its constitutive nature,

   membrane PS is often an indispensable participant in signaling events and/or influences the

   signaling in a concentration-dependent manner. See id. These PS functions are associated with

   normal memory formation and learning, and PS plays an important role in keeping your mind

   and memory sharp. See id.

            In the Kato-Kataoka study (2010)6, the PS group demonstrated a significant influence

   of PS on cognitive function and greater accuracy of responses on neuropsychological testing

   following 6 months of administration versus baseline as well as at the 3-month post-treatment

   follow-up. See Small Supp. Decl. at 9-10. There was a significant difference on

   neuropsychological testing between the PS and placebo groups including cognitive

   improvements in delayed verbal recall, a sensitive memory measure. See id. In the Yong study

   (2011)7, another randomized, double-blind placebo study, supplementation with 100mg of PS

   resulted in significant improvements in healthy young adult subjects in several measures of


   6
       Attached as Exhibit 9 to Defendants’ Supplemental Brief.
   7
       Attached as Exhibit 10 to Defendants’ Supplemental Brief.
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   cognitive performance, including directed memory, associative learning, free memory of

   images, recognition of meaningless figures, and portrait-features linked to memory. See id. at

   10. Meanwhile, the Crook study8 showed that treatment with soybean-derived PS (100

   mg/day and 300 mg/day) improved memory functions, such as memorizing names and faces,

   in elderly people with age-associated memory impairment. See id. at 9.

   C.       Clinical Studies on Melon Concentrate (SuperOxide Dismutase)

            The other active ingredient in Neuriva De-Stress, melon concentrate contains a potent

   antioxidant, SuperOxide Dismutase (“SOD”). SOD is one of the main antioxidant enzymes

   found in living cells and organisms. See id. at 10. A growing body of evidence demonstrates

   that a daily intake of melon juice concentrate rich in SOD may have a positive effect on

   several signs and symptoms of stress and fatigue. See id. Specifically, the Milesi study (2009)

   and the Carillon study (2014) suggest that melon concentrate (with 140 IU SOD)

   supplementation is an effective and natural way to reduce stress and fatigue, supporting the

   SOD ingredient claims in Neuriva De-Stress. See id. at 10-11.

            Taken together, Dr. Small’s declarations and the clinical studies on Neurofactor, PS

   and melon concentrate (SOD) provide more than adequate substantiation for both the current

   Neuriva labeling claims as well as the proposed labeling and marketing changes under the

   Amended Settlement Agreement.

   II.      Nevertheless, Defendants Agreed to Make Certain Label and Marketing Changes
            that Pre-Date Any Objections in This Action
            Despite the ample scientific evidence supporting Neuriva’s current claim that its active

   ingredients are “clinically proven,” Defendants nevertheless agreed to revise this claim to

   reflect that the Neuriva ingredients are “clinically tested,” in an effort to avoid the expense,

   inconvenience, and distraction associated with continued litigation. The Parties entered into

   a Confidential Settlement Proposal Term Sheet (“MOU”) regarding the required label

   changes on December 31, 2020. As part of that agreement, RB would change references of


   8
       Attached as Exhibit 8 to Defendants’ Supplemental Brief.
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   “clinically proven” ingredients to “clinically tested;” RB also retained the right to use similar

   descriptive language in addition to “clinically tested,” such as “clinical studies have shown.”

   The injunctive relief terms in the MOU were eventually memorialized verbatim in the

   Settlement Agreement and Release executed by the Parties on February 1, 2021. See ECF No.

   52-1 at Section IV.A.1.a-c.

          Shortly after the Parties entered into the MOU, in or around January 2021 RB began

   the process of removing the “clinically proven” claim and replacing it with “clinically tested”

   language. See Supplemental Declaration of Rachel Sexton, Exhibit B at ¶ 4 (“Sexton Supp.

   Decl.”). RB began this process at the earliest opportunity because the lead time to revise

   product labeling is typically four to six months. Id. At the time that this label re-design took

   place, RB understood that the Settlement would permit the company to use the term

   “clinically shown” on the products’ label—e.g. “clinical studies have shown” or words to that

   effect. Id. at ¶ 5. However, in re-designing the labels of Neuriva, RB elected not to use

   “clinically shown,” or any variation thereof, so that, instead, “clinically tested” would be the

   one consistent claim across the label. Id. at ¶ 6. The representative revised Neuriva label was

   made final on June 25, 2021. Id. at Ex. 1 and ¶ 8 (clarifying that the “notation on the right-

   hand side of the full pre-production proof of the label stating ‘Date Work Performed: 06-25-

   21’ refers to the completion of the label’s design” and identifying a “similar notation on the

   lower portion of the label itself, stating ‘062521’”). The representative label reflects the use of

   “clinically tested” on both the front and side panels; nowhere does the label use the term

   “clinically shown” or any variety of a “shown” claim. Id. at Ex. 1; see also Exhibit A at Ex. E.

   Instead, the side panel of the revised Neuriva label states that Neurofactor® is “clinically

   tested to increase levels of the vital neuroprotein BDNF.” Id. at ¶ 7, Ex. 1. The label likewise

   states that “Plant Sourced Sharp PS® is a phospholipid that is clinically tested to support

   memory and learning.” Id. Per the representative label, these changes will go into effect across

   all Neuriva products later this year. Id. at ¶ 8.

          Again, the design process began in January 2021 and the revised Neuriva label was

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   finalized on June 25, 2021. Id. During this time, RB was unaware that any person or entity

   had or would object to the Settlement in this case. Id. Therefore, RB’s decision to use the term

   “clinically tested” exclusively throughout the label was not motivated, influenced, or affected

   in any way by any objectors. Id. Indeed, RB’s marketing team did not become aware of

   putative objectors Mr. Frank and TINA—including their objection to “clinically shown”

   language—until approximately the week of August 9, 2021, long after RB had already decided

   not to use “clinically shown” or any similar language on the label. Id. at ¶ 9.

          Because RB’s independently conducted label revision process referred to above had

   already determined not to use the term “shown,” and to accurately reflect RB’s intended plans

   for the revised Neuriva label going forward, Defendants entered into an executed Amended

   Settlement Agreement with Plaintiffs on September 13, 2021. Id. at ¶ 10; see also Exhibit A at

   Section IV.A.1.a-d. Therein RB expressly agreed not to use the term “shown” in reference to

   clinical studies on Neuriva labels or in ancillary marketing (e.g. “clinically shown”) or the

   term “clinically tested and shown.” Ids. Although the Parties have executed the Amended

   Settlement Agreement, the Agreement requires Court approval in order to be considered final.

   See Exhibit A at Section XXI.A.

          RB provides the Court with the above context for the label change and Amended

   Settlement Agreement to clarify that, to the extent that putative objectors Mr. Frank and

   TINA may assert they played a role in prompting a label change, RB’s response is an

   unequivocal “no.” As Ms. Sexton’s Supplemental Declaration and the June 25, 2021

   representative label show, RB decided not to use “clinically shown,” or any varietal, long

   before these purported objectors arrived in this case on July 26, 2021.

                                      III.   CONCLUSION

          Defendants respectfully submit this Notice to advise the Court of the revised terms of

   agreed-upon injunctive relief and request that the Court recommend final approval of the

   Amended Settlement Agreement.



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    Dated: September 13, 2021                        Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 13, 2021, I electronically filed the
    foregoing document with the Clerk of the Court using CM/ECF.


                                                   /s/ Lori P. Lustrin
                                                   Lori P. Lustrin




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